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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 10-20162-3

BARRON HILL,

              Defendant.
                                                  /

          OPINION AND ORDER DECLINING TO ISSUE A MODIFICATION
     OF SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(2) AND TERMINATING AS
       MOOT DEFENDANT’S MOTION FOR THE APPOINTMENT OF COUNSEL

       The matter is before the court on a determination for a possible reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2). The court appointed the Federal

Defender’s Office “to determine eligibility, confer with the Probation Department and the

U.S. Attorney’s Office, and gather the pertinent information to assist the court in

expeditiously resolving any pending or intended 18 U.S.C. § 3582(c) motions.”

(12/26/11 Order, Dkt. # 72.) After reviewing the record and conferring with the

Government, Defendant’s counsel filed a “Notice Regarding Eligibility for a Reduced

Setence Under Crack Guideline Amendments,” indicating Defendant’s ineligibility for a

modification because the amendment to the crack cocaine guidelines does not lower

Defendant’s guideline range. (Notice Regarding Eligibility 1-2, Dkt. # 79.) The court

has reviewed the record and counsel’s notice and concludes that Defendant is ineligible

for modification. Having been sentenced pursuant to the 2010 Federal Sentencing

Guidelines Manual, Defendant has already received the benefit of the most recent crack
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cocaine amendments. Additionally, due to Defendant’s career offender status, he is

ineligible for modification. See United States v. Perdue, 572 F.3d 288, 292 (6th Cir.

2009) (citing United States v. Mateo, 560 F.3d 152, 155 (3d Cir. 2009) (holding that a

district court may not grant a motion for reduction of sentence pursuant to 18 U.S.C.

§ 3582(c)(2) where the defendant was originally sentenced as a career offender)).

Accordingly,

          IT IS ORDERED that the court DECLINES to modify Defendant’s sentence

pursuant to 18 U.S.C. § 3582(c), and the matter is deemed closed.

          IT IS FURTHER ORDERED that Defendant’s letter requesting the appointment

of counsel [Dkt. # 71], docketed as a motion, is TERMINATED AS MOOT.


                                                              s/Robert H. Cleland
                                                             ROBERT H. CLELAND
                                                             UNITED STATES DISTRICT JUDGE

Dated: March 28, 2012


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 28, 2012, by electronic and/or ordinary mail.

                                                              s/Lisa Wagner
                                                             Case Manager and Deputy Clerk
                                                             (313) 234-5522




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